OPINION — AG — ** INDIGENT CLINIC — BLOOD BANK — COUNTY FUNDS **  FUNDS DERIVED FROM AN APPROPRIATE MILL LEVY, THE COUNTY GENERAL FUND APPROPRIATION TO THE COUNTY HEALTH DEPARTMENT, AND COOPERATIVE HEALTH FUNDS CONTRIBUTED BY CITIES, TOWNS AND SCHOOL DISTRICTS, CANNOT BE USED TO MAINTAIN OR OPERATE A CURATIVE MEDICAL CARE CLINIC FOR THE INDIGENT, NOR CAN THEY BE USED TO ASSIST IN THE FINANCING OF A BLOOD BANK. CITE: 63 O.S. 1971, 1-205 [63-1-205], 68 O.S. 1971, 1-206 [68-1-206], 68 O.S. 1971, 1-223 [68-1-223], 68 O.S. 1971, 1-226 [68-1-226], OPINION NO. 65-298, 19 O.S. 1971 781 [19-781], 19 O.S. 1971 795 [19-795] [19-795], 63 O.S. 1971, 1-207 [63-1-207], ARTICLE X, SECTION 9(A) (DELL GORDON)